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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA



 IN RE PHILIPS RECALLED CPAP,
 BILEVEL PAP, AND MECHANICAL                 Master Docket No. 21-mc-1230
 VENTILATOR PRODUCTS                         MDL No. 3014
 LITIGATION

 THIS DOCUMENT RELATES TO:

 All Actions Asserting Claims for Personal
 Injury Brought by SoClean Users


 KONINKLIJKE PHILIPS N.V., PHILIPS
 NORTH AMERICA LLC, PHILIPS
 HOLDING USA, INC., PHILIPS RS
 NORTH AMERICA LLC, and PHILIPS
 RS NORTH AMERICA HOLDING
 CORPORATION,

 Defendants / Third-Party Plaintiffs,

 -v-

 SOCLEAN, INC., and DW
 MANAGEMENT SERVICES, LLC

 Third-Party Defendants.



               THIRD-PARTY DEFENDANT SOCLEAN, INC’S
    MOTION TO DISMISS PHILIPS DEFENDANTS’ CORRECTED THIRD-PARTY
          COMPLAINT UNDER RULE 12(B)(2) OR, ALTERNATIVELY,
    MOTION TO STRIKE PHILIPS DEFENDANTS’ CORRECTED THIRD-PARTY
                    COMPLAINT UNDER RULE 14(A)(4)




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I.      INTRODUCTION

        Third-Party Defendant SoClean, Inc. (“SoClean”) moves pursuant to Rule 12(b)(2) of the

Federal Rules of Civil Procedure to dismiss the Corrected Third-Party Complaint (“Third-Party

Complaint”) filed by Third-Party Plaintiffs Koninklijke Philips N.V., Philips North America LLC,

Philips Holding USA, Inc., Philips RS North America LLC, and Philips RS North America

Holding Corporation (collectively, the “Philips Defendants”), and alternatively moves pursuant to

Rule 14(a)(4) of the Federal Rules of Civil Procedure to strike the Third-Party Complaint.

        The Third-Party Complaint fails to allege a factual basis for this Court to exercise

jurisdiction over SoClean for the claims asserted against it by the Philips Defendants. SoClean is

not incorporated in and does not maintain its principal place of business in Pennsylvania, nor does

the Third-Party Complaint allege any other facts upon which SoClean would be amenable to

jurisdiction in Pennsylvania for the Philips Defendants’ contribution claims. Furthermore, as the

Third-Party Complaint was directly filed in this multidistrict litigation, there is no transferor court

from which the Court may draw any jurisdictional authority over SoClean or to which the Third-

Party Complaint could be transferred following pretrial proceedings.

        Should the Court determine that SoClean is subject to the Court’s jurisdiction, the Court

should nevertheless strike the Third-Party Complaint because of the undue complexities the Third-

Party Complaint would introduce should those claims proceed in this Court. Specifically, the

settlement alleged in the Third-Party Complaint creates subject matter jurisdiction issues. After

dismissal of the Device User Plaintiffs’ underlying claims (as called for by the Personal Injury

Master Settlement Agreement [“MSA”]), there will be no basis for original jurisdiction in this

Court, as the Philips Defendants and SoClean are not completely diverse and the Third-Party

Complaint does not invoke federal question jurisdiction. Moreover, the exercise of supplemental



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jurisdiction would not be appropriate since circumstances do not exist that would result in judicial

economy or convenience by keeping the Third-Party Complaint with the Court. To the contrary,

the Third-Party Complaint raises myriad state law issues across 35 different jurisdictions that

render the matter unfit for resolution in this Court.

        Not only would the Court lack original subject matter jurisdiction upon dismissal of the

Device User Plaintiffs’ claims under the MSA, but it the contribution claims asserted in the Third-

Party Complaint are not fully ripe for adjudication given the status of the settlement alleged in the

Third-Party Complaint. While the Philips Defendants have generally agreed to enter into a global

settlement of the claims asserted by the Device User Plaintiffs, they do not identify in the Third-

Party Complaint a single settling Device User Plaintiff, whether any such unknown Device User

Plaintiff used a SoClean device and what injuries they claim may be related, or the amounts the

Philips Defendants will pay or have paid in satisfaction of any such claim. The Philips Defendants

have not plead these facts because they cannot. This critical information that is necessary for the

parties to fully litigate the Third-Party Complaint will not be known until participating Device

User Plaintiffs are identified and the MSA is fully performed. Thus, the Philips Defendants cannot

even identify the states in which it will have viable contribution claims (if any) at this stage in the

litigation.

        Furthermore, because the Third-Party Complaint seeks contribution under the laws of 35

different states on claims asserted by some untold number of Device User Plaintiffs, and because

of the varying contours and nuances to each state’s contribution rules, allowing the Third-Party

Complaint to move forward in this Court would unduly complicate this litigation. Indeed, if the

Third-Party Complaint were to be litigated in this Court, not only would the Court need to apply

the contribution laws of 35 different states, but it would also have to oversee discovery targeted to



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specific Device User Plaintiffs relating to, among other issues, the specific causes of the injuries

for which the Philips Defendants are seeking contribution. Such a process would upend the

justification for consolidation in a multidistrict litigation.

        Striking the Third-Party Complaint would not meaningfully prejudice the Philips

Defendants, as they would not be precluded from pursuing whatever contribution rights they might

have in one or more separate actions once a factual basis to pursue contribution is known and the

MSA is fully performed. Thus, given that this premature Third-Party Complaint does nothing more

than unduly complicate this matter, and in the event the Court determines that SoClean is subject

to the Court’s jurisdiction with respect to these claims at all, the Court should strike the Third-

Party Complaint under Rule 14(a)(4) of the Federal Rules of Civil Procedure.

II.     LEGAL ARGUMENT

        A.      The Third-Party Complaint Fails to Allege a Factual Basis for Personal
                Jurisdiction in This Court.

        “An MDL Court only has its own jurisdictional powers and those of any transferor court.

Following a transfer, the transferee judge has all the jurisdiction and powers over pretrial

proceedings in the actions transferred to him that the transferor judge would have had in the

absence of transfer.” Butler Auto Recycling, Inc. v. Honda Motor Co. (In re Takata Airbag Prods.

Liab. Litig.), 524 F. Supp. 3d 1266, 1276 (S.D. Fla. 2021) (citation omitted). With respect to direct

filed complaints, where no transferor court exists, the transferee court must be able to exercise

jurisdiction over any new defendants named in such complaints. Id. Similarly, a third-party

complaint must establish that the third-party defendant is subject to the jurisdiction of the courts

in the state in which the original action is filed. Sieg v. Sears Roebuck & Co., 855 F. Supp. 2d 320,

329 (M.D. Pa. 2012) (dismissing third-party complaint for lack of personal jurisdiction when third-

party plaintiff failed to establish that the third-party defendant had sufficient minimum contacts


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with the forum state under stream-of-commerce theory).

        Here, the Philips Defendants fail to allege facts establishing that SoClean is subject to the

Court’s jurisdiction for the Philips Defendants’ contribution claims. As SoClean is incorporated in

Delaware and maintains its principal place of business in New Hampshire (Corrected Third-Party

Complaint, at ¶ 21), it is not subject to general jurisdiction in Pennsylvania. Simon v. First Sav.

Bank of Ind., 692 F. Supp. 3d 479, 482 (E.D. Pa. 2023); accord In re Dicamba Herbicides Litig.,

359 F. Supp. 3d 711, 723 (E.D. Mo. 2019). Thus, the Philips Defendants must establish that

SoClean is subject to specific jurisdiction in this Court for their contribution claims. However, they

do not allege facts supporting that conclusion. “In order for a court to exercise specific jurisdiction

over a claim, there must be an ‘affiliation between the forum and the underlying controversy,

principally, [an] activity or an occurrence that takes place in the forum State.’ When there is no

such connection, specific jurisdiction is lacking regardless of the extent of a defendant’s

unconnected activities in the State.” Bristol-Myers Squibb Co. v. Superior Court, 582 U.S. 255,

264 (2017) (quoting Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919 (2011))

(alterations in original).

        Under Third Circuit precedent, specific jurisdiction over an out-of-state defendant is not

established merely by exploitation of a national market that necessarily includes Pennsylvania.

Shuker v. Smith & Nephew, PLC, 885 F.3d 760, 780 (3d Cir. 2018) (citing Daimler AG v. Bauman,

571 U.S. 117, 122 (2014)); Bielstein v. Signature Solar Ltd. Liab. Co., No. 2:22-CV-01786-MJH,

2024 U.S. Dist. LEXIS 19358, at *9 (W.D. Pa. Feb. 5, 2024) (discussing Shuker). Indeed, specific

jurisdiction typically cannot be established based merely on allegations that the defendant

contracted with an in-state distributor, or maintained a website that allowed residents of the forum

state to engage in transactions with the defendant. Alulis v. Container Store, Inc., No. 19-2564,



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2020 U.S. Dist. LEXIS 88554, at *10 (E.D. Pa. May 20, 2020). Rather, the plaintiff must

demonstrate that its injuries arise out of or relate to activities the defendant purposefully directed

at the forum. Shuker, 885 F.3d at 780. Once challenged, the plaintiff bears the burden of

establishing personal jurisdiction. O'Connor v. Sandy Lane Hotel Co., 496 F.3d 312, 316 (3d Cir.

2007).

         Here, the Third-Party complaint fails to allege a factual basis for this Court to exercise

jurisdiction over SoClean. The only jurisdictionally relevant facts the Philips Defendants assert are

that SoClean is a Delaware corporation and that it maintains its principle place of business in New

Hampshire. (Corrected Third-Party Complaint, at ¶ 22.) While the Third-Party Complaint

references a SoClean website (id. at ¶¶ 26, 34), there are no other allegations indicating that

SoClean specifically targeted or otherwise purposefully directed any activities that underlie the

contribution claims asserted in the Third-Party Complaint at Pennsylvania.

         The Philips Defendants cannot rely on SoClean’s involvement in any other litigation in this

Court as a basis for the exercise of personal jurisdiction over the contribution claims they assert

because specific jurisdiction is claim-specific, inasmuch as the claim must arise out of or relate to

the defendant’s forum-related conduct. Bristol-Myers Squibb Co. v. Superior Court, 582 U.S. 255,

262 (2017) (citation omitted).

         Because The Philips Defendants do not allege any other facts that would render SoClean

amenable to this Court’s jurisdiction for all the claims the Philips Defendants assert in the Third-

Party Complaint, the Third-Party Complaint should be dismissed.

         B.     The Corrected Third-Party Complaint should be Stricken because the Philips
                Defendants’ Contribution Claims are not Ripe and because It Unduly
                Complicates this Litigation.

         Under the Federal Rules of Civil Procedure Rule 14(a)(4), “[a]ny party may move to strike



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the third-party claim, to sever it, or to try it separately.” “District courts are afforded discretion to

strike or sever third-party complaints, pursuant to Rule 14.” Skeans v. Key Commer. Fin. LLC,

Civil Action No. 18-1516-CFC-SRF, 2020 U.S. Dist. LEXIS 105285, at *6 (D. Del. June 16, 2020);

Leventhal v. MandMarblestone Grp. LLC, No. 18-cv-2727, 2020 U.S. Dist. LEXIS 92059, at *18

(E.D. Pa. May 27, 2020). In exercising that discretion, the district court may properly consider the

merit of the third-party complaint and whether the third-party complaint would unduly complicate

the case at trial. Id. Courts may also consider the absence of prejudice to the third-party plaintiff

in striking a third-party complaint. Laborers' Dist. Council Pension & Disability Tr. Fund No. 2 v.

Geofreeze, Inc., 298 F.R.D. 300, 304 (D. Md. 2014) (finding lack of prejudice to third-party

plaintiff by striking third-party complaint because the defendant could assert its claims in state

court).

          Here, the Court should strike the Philips Defendants Third-Party Complaint because the

pending settlement stands to eliminate the Court’s original subject matter jurisdiction, the

contribution claims are unripe, and allowing litigation of the Third-Party Complaint in this forum,

at this late stage, would substantially and unduly complicate this litigation.

                 1.      The Settlement will eliminate the Court’s original jurisdiction and the
                         exercise of supplemental jurisdiction over the Third-Party Complaint after
                         dismissal of the Device User Plaintiffs’ Claims will be unjustified.

          “[A] court has the discretion to dismiss a third-party claim after the original claims of the

plaintiff have been settled, and relegate the third-party plaintiff to a separate suit.” Am. Zurich Ins.

Co. v. Cooper Tire & Rubber Co., 512 F.3d 800, 805-06 (6th Cir. 2008). Cooper Tire involved an

insurance coverage dispute between umbrella and excess policy providers in which the excess

policy provider sought a declaratory judgment against the umbrella policy provider and the insured

to determine that payment of defense costs under the umbrella policy did not deplete the aggregate



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policy limit. Id. at 801-02. The insured filed a third-party complaint against its insurance broker,

alleging that the broker signed an unauthorized endorsement that retroactively modified the

umbrella policy to a “defense within limits” policy. Id. at 802. However, the Sixth Circuit affirmed

dismissal of the third-party complaint without prejudice, concluding that the trial court acted

within its discretion under Rule 14 in dismissing the complaint once the court’s supplemental

jurisdiction under 28 U.S.C. § 1367(a) came into question. Id. at 806 (citing Bjorgung v. Whitetail

Resort, Civil Action No. 1:03-CV-2114, 2007 U.S. Dist. LEXIS 76878, at *17-18 (M.D. Pa. Sep.

28, 2007)).

        Here, as in Cooper Tire, the settlement of the Device User Plaintiffs’ claims supports

striking the Third-Party Complaint because the settlement and ensuing dismissal will likely

eliminate any claims over which the Court has original jurisdiction. The Philips Defendants

premise subject matter jurisdiction over their Third-Party Complaint on supplemental jurisdiction

under 28 U.S.C. § 1367(a), which in turn is premised on the Court’s diversity jurisdiction over the

Device User Plaintiffs’ claims under 28 U.S.C. § 1332. (Corrected Third-Party Complaint, at ¶ 23.)

However, under 28 U.S.C. § 1367, when all claims over which a federal court has original

jurisdiction have been dismissed, the court may decline to exercise supplemental jurisdiction over

any remaining claims. Doe v. Mercy Catholic Med. Ctr., 850 F.3d 545, 567 (3d Cir. 2017); Arthur

Glick Truck Sales, Inc. v. H.O. Penn Mach. Co., 332 F. Supp. 2d 584, 586 (S.D.N.Y. 2004); FDIC

v. Madison Title Agency, LLC, Civil Action No. 12-3009 (MAS) (LHG), 2014 U.S. Dist. LEXIS

175227, at *4 (D.N.J. Dec. 17, 2014). Indeed, “[t]he Third Circuit directs that, ‘where the claim

over which the district court has original jurisdiction is dismissed before trial, the district court

must decline to decide the pendent state claims unless considerations of judicial economy,

convenience, and fairness to the parties provide an affirmative justification for doing so.’”



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Chagares v. Monmouth Med. Ctr., Civil Action No. 21-20677 (MAS) (LHG), 2022 U.S. Dist.

LEXIS 150587, at *14-15 (D.N.J. Aug. 22, 2022) (quoting Borough of W. Mifflin v. Lancaster, 45

F.3d 780, 788 (3d Cir. 1995)).

         Here, there is no basis for original jurisdiction over the Third-Party Complaint. There is no

diversity jurisdiction supporting the Third-Party Complaint because SoClean is alleged to be

incorporated in Delaware and to maintain its principal place of business in New Hampshire.

(Corrected Third-Party Complaint, at ¶ 21.) On the other hand, four of the Philips Defendants are

alleged also to be incorporated or formed in Delaware, including Philips Holding USA, Inc. (Id.

at ¶¶ 17-20.) Thus, there is no complete diversity amongst the Philips Defendants and SoClean.

See Deluxe Bldg. Sys. v. Constructamax, Inc., 94 F. Supp. 3d 601, 607 (D.N.J. 2013) (“If any

plaintiff and any defendant are citizens of the same state, diversity is broken and the action must

be dismissed, unless some other basis for jurisdiction may be found.”) Furthermore, upon

expiration of the Philips Defendants’ termination rights under the MSA, the claims of all settling

plaintiffs will be dismissed. (ECF Doc. No. 2768-1, at § 3.8.)

         Once the Device User Plaintiffs’ claims are dismissed, there will be no justification for the

Court’s exercise of supplemental jurisdiction over the contribution claims based on injuries to any

settling Device User Plaintiffs. And because the Third-Party Complaint asserts 35 state-law claims,

each with varying nuances impacting liability, and because the resolution of those 35 separate

claims will require targeted, individualized discovery aimed at the settling Device User Plaintiffs

who are no longer parties to any pending legal action and who reside in various jurisdictions, the

exercise of supplemental jurisdiction would not create any judicial economy or convenience.1




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  Not to be lost in the subject matter jurisdictional issues created by the dismissal of the Device User Plaintiffs’ claims
is the fact that this Court, as the transferee court in this multidistrict litigation, is limited in its jurisdiction and cannot

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                 2.       The Philips Defendants’ contribution claims are not ripe.

        “The function of the ripeness doctrine is to determine whether a party has brought an action

prematurely, and counsels abstention until such time as a dispute is sufficiently concrete to satisfy

the constitutional and prudential requirements of the doctrine.” Peachlum v. City of York, 333 F.3d

429, 433-34 (3d Cir. 2003) (citations omitted). In assessing whether a dispute is ripe for

adjudication, courts in the Third Circuit consider the following issues: “are the parties in a

sufficiently adversarial posture to be able to present their positions vigorously; are the facts of the

case sufficiently developed to provide the court with enough information on which to decide the

matter conclusively; and is a party genuinely aggrieved so as to avoid expenditure of judicial

resources on matters which have caused harm to no one.” Id. (citation omitted).

        As recognized in the Third Circuit, “[t]he general rule [is] that a cause of action for

contribution does not arise until the party seeking contribution has paid, or had a judgment

rendered against him or her for, more than his or her fair share of a common liability.” Sea-Land

Service, Inc. v. United States, 874 F.2d 169 171 (3rd Cir. 1989); see also In re Cendant Corp.

Derivative Action Litig., 96 F. Supp. 2d 394, 397 (D.N.J. 2000) (“A cause of action for contribution

does not arise until the party seeking contribution has paid more than his or her fair share of a

common liability.”); J.V. Mfg., Inc. v. Dematic Corp., 2023 U.S. Dist. LEXIS 47521 (W.D. Pa.

2023) (holding that contribution claims by manufacturer against distributer were premature while

underlying personal injury suit ongoing in state court).

        Several state contribution rules, including the state laws cited in the Third-Party Complaint,

similarly require a settlement payment to be made before a contribution claim is viable. See




“self-assign” a case to it for trial proceedings. 28 U.S.C. § 1407; Lexecon Inc. v. Milberg Weiss Bershad Hynes &
Lerach, 523 U.S. 26, 28 (1998). SoClean does not waive any objection it may have to venue in this Court.


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Arkansas Code 16-61-202(b) (“A joint tortfeasor is not entitled to a money judgment for

contribution until he or she has by payment discharged the common liability or has paid more than

his or her pro rata share of the common liability”); 740 Ill. Comp. Stat. 100/2(b) (“The right of

contribution exists only in favor of a tortfeasor who has paid more than his pro rata share of the

common liability”); 42 Pa. Cons. Stat. § 8324 (b) (“A joint tort-feasor is not entitled to a money

judgment for contribution until he has by payment discharged the common liability or has paid

more than his pro rata share thereof.”); R.I. Gen. L. § 10-6-4 (“a joint tortfeasor is not entitled to

a final money judgment for contribution until he or she has by payment discharged the common

liability or has paid more than his or her pro rata share of the final money judgment”); Cal. Civ.

Pro. Code § 875(c) (“Such right of contribution may be enforced only after one tortfeasor has, by

payment, discharged the joint judgment or has paid more than his pro rata share thereof.”); Del.

Code Ann. tit. 10 §§ 6301-6308 (“A joint tortfeasor is not entitled to a money judgment for

contribution until he or she has by payment discharged the common liability or has paid more than

his or her pro rata share thereof.”); Md. Code Ann. Cts. & Jud. Proc. § 3-1402(b) (“A joint tort-

feasor is not entitled to a money judgment for contribution until the joint tort-feasor has by payment

discharged the common liability or has paid more than a pro rata share of the common liability.”);

Robertson v. McCarte, 433 N.E.2d 1262 (Mass. App. Ct. 1982) (holding that payment by a joint

tortfeasor is a prerequisite for a contribution action).

        Although courts have interpreted Rule 14 of the Federal Rules of Civil Procedure to permit

the filing of third-party complaints seeking contribution even if the right to contribution has not

become fully ripe, see, e.g., Andrulonis v. United States, 26 F.3d 1224, 1233-34 (2d Cir. 1994),

when contribution actions are filed as stand-alone actions, they have been deemed unripe by courts

where there has not yet been a settlement or judgment. See, e.g., Sea-Land Service, Inc. v. United



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States, 874 F.2d 169 171 (3rd Cir. 1989).

        Here, the Court should strike the Third-Party Complaint because it is unripe, as the facts

of the Philips Defendants’ contribution claims are not sufficiently developed to allow for

conclusive determination of those claims. Importantly, the Third-Party Complaint does not present

a “typical” Rule 14 impleader based on contribution, where the parties are known and the injuries

on which contribution is sought are identifiable. To the contrary, the Philips Defendants do not

identify—because they do not know—which Device User Plaintiffs have agreed to the settlement

alleged in the Third-Party Complaint. The most they allege is that “at least 15% of Device User

Plaintiffs are confirmed SoClean users.” (Corrected Third-Party Complaint, at ¶ 4.) But they do

not allege what (if any) injuries those Device User Plaintiffs claim to have suffered, nor do they

allege, because they do not know, what amounts will be paid to any Device User Plaintiff who

used a SoClean product. These gaps are significant because, as discussed below in section II.B.3,

whether a plaintiff has settled their claims for which the third-party plaintiff seeks contribution is

a fact that could eliminate the third-party plaintiff’s ability to seek contribution.

        Underscoring those issues are the confidentiality provisions and other terms in the MSA

which the Philips Defendants negotiated that restrict the use of statements or documents delivered

in connection with the MSA. Specifically, Section 11.9 prohibits the parties from introducing or

offering any statement made in connection with the Settlement or any statements in the documents

delivered in connection with this Settlement, or otherwise rely on the terms of this Settlement, in

any judicial proceeding. (ECF Doc. No. 2768-1.) That prohibition extends to “any Registration

Form and the executed attachments thereto.” (Ibid.) Section 11.10 requires the parties to “keep

confidential, pursuant to mediation privileges and confidentiality, the content of the negotiations,

points of discussion, documents, communications, and supporting data utilized or prepared in



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connection with the negotiations and settlement discussions related to the MSA.” (ECF Doc. No.

2768-1.) It is therefore difficult to understand the basis on which the Philips Defendants would be

able to identify any Device User Plaintiffs whose claims are settled or the amounts paid to settle

those claims, and whether those documents would be admissible to establish or contest the Philips

Defendants’ contribution claims. But one thing is certain: the Philips Defendants do not have any

such information to support this Complaint.

        Because the Philips Defendants cannot identify any settling Device User Plaintiffs or the

amounts paid satisfy any such claims, the Third-Party Complaint should be stricken as unripe.

                 3.    The Philips Defendants’ contribution claims are unmeritorious and will
                       unduly complicate this litigation.

        By seeking contribution under the laws of 35 different states, the Philips Defendants inject

undue complexity into this litigation. Furthermore, many of those state laws do not permit

contribution on the facts the Philips Defendants allege. The complexities introduced by the state

laws under which the Philips Defendants seek contribution, and the impact the differing contours

of each state’s contribution laws on the merits of the Third-Party Complaint warrant striking the

Third-Party Complaint.

        For example, under New York law, a defendant that settles with a plaintiff is not entitled to

contribution from a purported joint tortfeasor. N.Y. Gen. Oblig. Law § 15-108 (“A tortfeasor who

has obtained his own release from liability shall not be entitled to contribution from any other

person.”); In re Del-Val Fin. Corp. Sec. Litig., 868 F. Supp. 547, 553 (S.D.N.Y. 1994); Rosado v.

Proctor & Schwartz, Inc., 66 N.Y.2d 21, 24(1985) (“In order to remove a disincentive to settlement,

the Legislature amended General Obligations Law § 15-108 (L 1974, ch 742) to provide that a

settling tort-feasor can neither obtain, nor be liable for, a contribution claim.”) Thus, to the extent

there are any Device User Plaintiffs whose claims are governed by New York law that agree to the


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settlement alleged in the Third-Party Complaint, the Philips Defendants will have no right to

contribution from SoClean. And, as discussed above, not knowing which of the Device User

Plaintiffs claims are settled prevents full litigation of the Third-Party Complaint’s merits.

         Under Nebraska law, “[u]nless a plaintiff has chosen to sue all potential defendants, the

defendant against whom a plaintiff does obtain a judgment will never have any right to contribution

against other joint tortfeasors who did not become a judgment debtor to the plaintiff.” Comeau v.

Rupp, 762 F. Supp. 1434, 1439 (D. Kan. 1991). Should any Device User Plaintiffs whose claims

are subject to Nebraska law not settle but instead proceed to judgment on their claims against the

Philips Defendants without adding SoClean, the Philips Defendants will not have any right to

contribution from SoClean.

         Under Pennsylvania law, assertion of “sole, not joint, liability on the part of the third-party

defendant” is not proper basis for Rule 14 impleader.2 See Wilder v. Williams, Civil Action No. 87-

1043, 1989 U.S. Dist. LEXIS 14044, at *5 (W.D. Pa. June 7, 1989) (citing Schwab v. Erie

Lackawanna Railroad Co., 48 F.R.D. 442, 443 (W.D. Pa. 1970)). In the Third-Party Complaint the

Philips Defendants deny any liability to Plaintiffs appearing to place the blame entirely on the

Third-Party Defendant: “[t]he Philips Defendants maintain that the Device User Plaintiffs’ claims

against the Philips Defendants are devoid of merit. Simply put, any emitted foam or any VOCs are

well within long-established, and scientifically supported, safety levels.” (Corrected Third-Party

Complaint, at ¶ 2; see also ECF Doc. No. 2768-1, at Recital J [“Nothing in the Settlement will be

construed as evidence of, or as an admission by, the Philips Defendants of any fault, liability,




2
  Oklahoma law is to the same effect. See Daugherty v. Farmers Coop. Ass'n, 1989 OK CIV APP 89, ¶ 13 (“For a
person to seek contribution under the Uniform Contribution Among Tortfeasors Act, 12 O.S. 1981 § 832, the parties
must be jointly or severally liable. An allegation that the party against whom contribution is sought is solely liable to
the plaintiff, or that the party seeking contribution is not liable at all, is insufficient.”


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wrongdoing, causation, or damages whatsoever. The Philips Defendants maintain that use of the

Recalled Devices did not cause any injuries, including any of the Qualifying Injuries.”]; ECF Doc.

No. 2213-1, at p. 4 [“By entering into this Settlement, the Philips Defendants do not admit any

wrongdoing, liability, fault, injury, damages, or violation of any law whatsoever.”].) They further

assert that “there is substantial evidence that Third-Party Defendants are responsible, either in

whole or at least in part, for liability alleged by those Device User Plaintiffs who used SoClean

Devices.” (Corrected Third-Party Complaint, at ¶ 14 [emphasis added].)3

         If the Third-Party Complaint were to survive, it would prematurely introduce complexities

into the discovery process. Litigation of the Philips Defendants’ contribution claims will

necessarily involve discovery into the specific causes of the Device User Plaintiffs’ injuries, which

would involve discovery directed to third parties located in other states, outside of this Court’s

jurisdiction. The individualized discovery needed in the Third-Party Contribution case is very

different than the discovery that is appropriately consolidated in this current multidistrict litigation,

and the economies to be realized by consolidated pretrial proceedings in a multidistrict litigation

would not be realized with respect to consolidation of the Philips Defendants’ contribution claims

in this action.

         Given the numerous complexities Philips Defendants’ contribution claims would unduly

insert into this MDL, the Court should strike the Third-Party Complaint.




3
  While a party may plead alternative and even inconsistent legal theories, FED. R. CIV. P. 8(d)(3), “what is pled
alternatively must still have a plausible basis grounded in fact,” Kovach v. Turner Dairy Farms, Inc., 929 F. Supp. 2d
477, 500 (W.D. Pa. 2013) (citation omitted), and “where one factual assertion negates an essential element of a
contrary assertion, that conflict cannot stand, absent sufficient explanation.” Dorley v. S. Fayette Twp. Sch. Dist., 129
F. Supp. 3d 220, 236 (W.D. Pa. 2015) (citation omitted). The Philips Defendants offer no explanation for how they
can seek contribution based on allegations that the Device User Plaintiffs suffered no injury and/or the Philips
Defendants did not cause any Device User Plaintiffs’ injuries, while also claiming that SoClean is entirely responsible
for the alleged Device User Plaintiff injuries.


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        4.       The Philips Defendants’ will not be unfairly prejudiced by striking the Third-Party
                 Complaint.

        Should the Court strike the Third-Party Complaint, the Philips Defendants would not be

barred from seeking contribution by filing separate lawsuits if they are able to obtain the facts

necessary to plead viable contribution claims. Thus, given the substantial complexities the Third-

Party Complaint would introduce into this litigation, the Court should strike the Third-Party

Complaint.

III.    CONCLUSION

        For the foregoing reasons, SoClean requests that the Court dismiss the Third-Party

Complaint for lack of personal jurisdiction under Rule 12(b)(2) of the Federal Rules of Civil

Procedure, or, alternatively, to strike the Third-Party Complaint under Rule 14(a)(4) of the Federal

Rules of Civil Procedure.



 Dated: October 3, 2024                                   Respectfully submitted,


                                                          /s/ Ashley N. Rodgers
                                                          Michelle R. Gilboe
                                                          Admitted Pro Hac Vice
                                                          Ashley N. Rodgers
                                                          PA State Bar No. 314017

                                                          Lewis Brisbois Bisgaard & Smith LLP
                                                          One PPG Place, 28th Floor
                                                          Pittsburgh, Pennsylvania 15222
                                                          412.752-7254
                                                          Michelle.Gilboe@lewisbrisbois.com
                                                          Ashley.Rodgers@lewisbrisois.com

                                                          Attorneys for SoClean, Inc.




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                                CERTIFICATE OF SERVICE

        This is to certify that on the 3rd day of October, 2024, the foregoing document was

electronically filed with the Clerk of the United States District Court for the Western District of

Pennsylvania, using the CM/ECF system, which will send notification of such filing to all counsel

of records. This document was filed electronically and is available for viewing and downloading

from the ECF system.


                                                  /s/ Ashley N. Rodgers
                                                  Michelle R. Gilboe
                                                  Admitted Pro Hac Vice
                                                  Ashley N. Rodgers
                                                  PA State Bar No. 314017

                                                  Lewis Brisbois Bisgaard & Smith LLP
                                                  One PPG Place, 28th Floor
                                                  Pittsburgh, Pennsylvania 15222
                                                  412.752-7254
                                                  Michelle.Gilboe@lewisbrisbois.com
                                                  Ashley.Rodgers@lewisbrisois.com

                                                  Attorneys for SoClean, Inc.




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